Case 2:02-cV-02958-STA-egb Document 115 Filed 08/02/05 Page 1 of 3 Page|D 137

IN THE UNITED sTATEs DISTRICT CoURT F“_ED BYQ§(§_/___ n,c;'
FoR THE wEsTERN DISTRICT oF TENNESSEE

wEsTERN DIVIsIoN 95 mg _2 ppg t,,= 55

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THOMAS P. LEWIS, CLBQK, U,g` agreemqu

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Plaintiff,
v. No. 02-2953-13

UNITED STATES,
Defendant/Third-Party Plaintiff,

v.

RONALD L. EDMONDS,

Third-Party Defendant.

 

ORDER OF REFERENCE

 

Before the court is Third-Party Defendant Ronald Edmonds’s Objections to Thomas P.
Lewis’s Witness List filed on June 30, 2005.

These objections are referred to the United States Magistrate Judge for determination
Any objections to the magistrate judge’s order shall be made within ten (10) days after service
of the order, setting forth particularly those portions of the order objected to and the reasons for
the objections Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection. w Rule 72(a), Federal Rules of Civil Procedure.

IT IS SO ORDERED this day August, 2005.

 

 

. DANIEL BREEN

U ITE STATES DISTRIC JUDGE
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Honorable .1. Breen
US DISTRICT COURT

